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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT

------------------------------------------------------x
                                                      :
UNITED STATES OF AMERICA                              :   Docket No. 3:14MJ00130(HBF)
                                                      :
v.                                                    :
                                                      :
BERNARD PETTWAY                                       :   August 27, 2014
                                                      :
------------------------------------------------------x


                       MOTION TO POSTPONE PRELIMINARY HEARING

        The defendant, Bernard Pettway, is charged in a complaint dated June 20, 2014, with a violation

of 18 U.S.C. § 111(b). He was presented in federal court for the first time on June 20, 2014, at which

time he was ordered detained. On July 2, 2014, a bond hearing was conducted and Mr. Pettway was

released subject to a non-surety bond with various conditions.

        Under Federal Rule of Criminal Procedure 5.1, a preliminary hearing must be conducted or an

indictment filed within 21 days, and under the Speedy Trial Act of 1974, 18 U.S.C. § 3161(b), the

government is required to file an indictment or information within 30 days of Mr. Pettway’s arrest. Mr.

Pettway previously filed a speedy trial waiver excluding the time from June 24, 2014, through and

including August 31, 2014; accordingly, only four days of the speedy trial clock have elapsed to date.

        Mr. Pettway requires additional time to review the charges against him in this matter.

Undersigned counsel is in discussions with counsel for the government which, if successful, would

obviate the need for a preliminary hearing or the filing of an indictment. Additional time is also

required for undersigned counsel to meet with the defendant to discuss his options. Accordingly, the

defendant seeks an extension of the time within which a preliminary hearing should be held, and within

which an indictment or information must be filed, until September 30, 2014.
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       Undersigned counsel has discussed this continuance with the defendant and he consents to it.

A waiver of rights under Rule 5.1(d) and the Speedy Trial Act has previously been filed. Counsel for

the government, Assistant United States Attorney Rahul Kale, does not object to this continuance.

                                                       Respectfully submitted,

                                                       The Defendant,
                                                       Bernard Pettway

                                                       Office of the Federal Defender



Dated: August 27, 2014                                   /s/ Sarah A. L. Merriam
                                                       Sarah A. L. Merriam
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                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 27, 2014, a copy of the foregoing motion was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing will
be sent to all parties by operation of the Court’s electronic filing system or by mail to anyone unable
to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing
through the Court’s CM/ECF System.


                                                    /s/ Sarah A. L. Merriam
                                                        Sarah A. L. Merriam
